Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 1 of 39

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and Montana Department of Fish, Wildlife and Parks

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
CENTER FOR BIOLOGICAL Lead Case
DIVERSITY, et al., CV 24-86-M-DWM
Plaintiffs,

WESTERN WATERSHEDS PROJECT,
et al.,
Consolidated Plaintiffs,

ANIMAL WELLNESS ACTION, et al,,
Consolidated Plaintiffs,
V.

UNITED STATES FISH AND
WILDLIFE SERVICE, et al.,
Defendants,

and

SPORTSMEN’S ALLIANCE
FOUNDATION, et al.,
Defendant-Intervenors,

Member Case
CV-24-87-M-DWM
CV-24-97-M-DWM

DEFENDANT-INTERVENORS’
ANSWER TO PLAINTIFFS’
COMPLAINT
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 2 of 39

STATE OF MONTANA and
MONTANA DEPARTMENT OF FISH,
WILDLIFE AND PARKS,

Defendant Intervenors Applicants.

Defendant Intervenors, State of Montana and Montana Fish, Wildlife and
Parks (together, “Montana’) answer Plaintiffs’ complaint and assert its affirmative
defenses as follows for the Member Case of this matter, CV 24-97-M-DWM.

INTRODUCTION

1. Paragraph 1 consists of Plaintiffs’ description of the nature of their
suit and legal conclusions that require no response. If a response is required, those

allegations are denied.
2. Montana admits the allegations in Paragraph 2.
3. Montana admits the allegations in Paragraph 3.
4. | Montana denies the allegations in Paragraph 4.

5. Paragraph 5 consists of Plaintiffs’ description of the nature of their
suit and legal conclusions that require no response. If a response is required, those

allegations are denied.

JURISDICTION AND VENUE
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 3 of 39

6. Paragraph 6 is a conclusion of law that requires no response. Ifa

response is required, those allegations are denied.

7. Paragraph 7 is a conclusion of law that requires no response. Ifa

response is required, those allegations are denied.

8. Paragraph 8 is a conclusion of law that requires no response. Ifa

response is required, those allegations are denied.

9. Paragraph 9 is a conclusion of law that requires no response. If a

response, is required, those allegations are denied.

10. Paragraph 10 is a conclusion of law that requires no response. Ifa

response, is required, those allegations are denied.

11. Montana lacks information and knowledge sufficient to form a belief

as to the truth of the allegations in Paragraph 11 and denies them on that basis.

12. Montana lacks information and knowledge sufficient to form a belief

as to the truth of the allegations in Paragraph 12 and denies them on that basis.
PARTIES
Plaintiffs

13. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 13 concerning the interests and
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 4 of 39

activities of Plaintiff ANIMAL WELLNESS ACTION (“AWA”), and denies them

on that basis.

14. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 14 concerning the interests and
activities of Plaintiff THE CENTER FOR A HUMANE EONOMY (‘the Center”),

and denies them on that basis.

15. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in the first and second sentences of Paragraph 15
concerning the membership and supporters of AWA and the Center, and denies
them on that basis. The third sentence of Paragraph 15 identifies Plaintiffs’ action,

and no response is required. If a response is required, those allegations are denied.

16. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in first, second, third, and fourth sentences of
Paragraph 16 concerning the interests, activities, and memberships of Plaintiff
PROJECT COYOTE, and denies them on that basis. The fifth sentence of
Paragraph 16 identifies Plaintiffs’ action, and no response is required. If a response

is required, those allegations are denied.

17. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in the first and second sentences of Paragraph 17
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 5 of 39

concerning the interests and activities of Plaintiff THE KETTLE RANGE
CONSERVATION GROUP (“Kettle Range”), and denies them on that basis. The
third sentence of Paragraph 17 identifies Plaintiffs’ action, and no response is

required. If a response is required, those allegations are denied.

18. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in the first, second, and third sentences of
Paragraph 18 concerning the interests, activities, and membership of Plaintiff
FOOTLOOSE MONTANA, and denies them on that basis. The fourth sentence of
Paragraph 18 identifies Plaintiffs’ action, and no response is required. If a response

is required, those allegations are denied.

19. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in the first, second, third, fourth, fifth, and sixth
sentences of Paragraph 19 concerning the interests, activities, and membership of
Plaintiff THE GALLATIN WIDLIFE ASSOCIATION (‘GWA”), and denies them
on that basis. The seventh sentence of Paragraph 19 identifies Plaintiffs’ action,

and no response is required. If a response is required, those allegations are denied.

20. The allegations in Paragraph 20 purport to describe and characterize

the 2021 Petition, which speaks for itself and is the best evidence of its contents.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 6 of 39

Montana denies any allegations inconsistent with the plain language, meaning, or

context of the petition.
Plaintiffs’ Interests

21. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 21 concerning the interests, activities,

and membership of Plaintiff's, and denies them on that basis.

22. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in the first, second, fourth, fifth, sixth, seventh,
eighth, ninth, and tenth sentences of Paragraph 22, and denies them on that basis.
The allegations in the third sentence of Paragraph 22 purport to describe and
characterize the 60-day notice of intent to sue filed by AWA and the Center, which
speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the plain language, meaning, or context of the 60-day
notice of intent to sue. The allegations in the eleventh and twelfth sentences of
Paragraph 22 are too subjective, vague, exaggerated, unqualified, and/or
ambiguous to permit a specific response. On that basis, Montana denies the

allegations.

23. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in the first, second, third, fourth, fifth, seventh,
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 7 of 39

eighth, and ninth sentences of Paragraph 23, and denies them on that basis. The
allegations in the sixth sentence of Paragraph 23 purport to describe and
characterize a lawsuit filed against the State of Montana in 2022, which speaks for
itself and is the best evidence of its contents. Montana denies any allegations
inconsistent with the plain language, meaning, or context of the complaint filed in
that case. The allegations in the tenth and eleventh sentences of Paragraph 23 are
too subjective, vague, exaggerated, unqualified, and/or ambiguous to permit a

specific response. On that basis, Montana denies the allegations.

24. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in the first, second, third, fourth, and fifth
sentences of Paragraph 24, and denies them on that basis. The allegations in the
sixth and seventh sentences of Paragraph 24 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.

25. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in the first, second, third, fourth, fifth, sixth,
seventh, ninth, eleventh, and twelfth sentences of Paragraph 25, and denies them
on that basis. Montana admits the allegations in sentence eight of Paragraph 25.
The allegations in the tenth sentence of Paragraph 25 purport to describe and

characterize Montana House Bill 372, which speaks for itself and is the best
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 8 of 39

evidence of its contents. Montana denies any allegations inconsistent with the plain
language, meaning, or context of House Bill 372. The allegations in the thirteenth
and fourteenth sentences of Paragraph 25 are too subjective, vague, exaggerated,
unqualified, and/or ambiguous to permit a specific response. On that basis,

Montana denies the allegations.

26. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in the first through fifth sentences of Paragraph 26,
concerning the interests and activities of Plaintiff Gallatin Wildlife Association
(“GWA”), and denies them on that basis. The allegations in the sixth and seventh
sentences of Paragraph 26 are too subjective, vague, exaggerated, unqualified,
and/or ambiguous to permit a specific response. On that basis, Montana denies the

allegations.

27. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 27 concerning the interests, activities,

and membership of Plaintiff's, and denies them on that basis.

28. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 28 concerning the interests, activities,

and membership of Plaintiff's, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 9 of 39

29. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 29 concerning the interests of

Plaintiff's, and denies them on that basis.

30. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 30 concerning Mr. Nagel’s
organizational involvement, place of recreation, events witnessed, and his

concerns, and denies them on that basis.

31. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 31 concerning Ms. Heister’s
organizational involvement, place of recreation, events witnessed, and her

concerns, and denies them on that basis.

32. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in Paragraph 32 concerning Norman Bishop, and denies

them on that basis.

33. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in Paragraph 33 concerning Ms. Bennitt’s activities,
organizational involvement, place of recreation, and knowledge of wolves in states

nearby Montana, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 10 of 39

34. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in Paragraph 34 concerning Ms. Miller-Richardson’s
organizational involvement, previous employment, place of recreation, and events

witnessed, and denies them on that basis.

35. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in Paragraph 35 concerning Ms. Miller’s organizational
involvement, place of recreation, previous employment, and events

witnessed/known of, and denies them on that basis.

36. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 36, and denies them on that basis.
Defendants
37. Montana admits the allegations in Paragraph 37.

38. The allegation in the first sentence of Paragraph 38 consists of
Plaintiffs’ description of the nature of their suit and requires no response. If a
response is required, that allegations is denied. The allegations in the second
sentence of Paragraph 38 are too subjective, vague, exaggerated, unqualified,
and/or ambiguous to permit a specific response. On that basis, Montana denies the

allegations.

39. Montana admits the allegations in Paragraph 39.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 11 of 39

40. The allegation in the first sentence of Paragraph 40 consists of
Plaintiffs’ description of the nature of their suit and requires no response. If a
response is required, that allegation is denied. The allegations in the second
sentence of Paragraph 40 are too subjective, vague, exaggerated, unqualified,
and/or ambiguous to permit a specific response. On that basis, Montana denies the

allegations.

STATUTORY AND REGULATORY BACKGROUND

41. The allegations in the first sentence of Paragraph 41 purport to
describe and characterize Tenn. Valley Auth. v. Hill, 437 U.S. 153, 184 (1978),
which speaks for itself and is the best evidence of its contents. Montana denies any
allegations inconsistent with the cases plain language, meaning, or context. The
allegations in the second sentence of Paragraph 41 purport to describe and
characterize 16 U.S.C. § 1531(b), which speaks for itself and is the best evidence
of its contents. Montana denies any allegations inconsistent with the code’s plain

language, meaning, or context.

42. The allegations in the first sentence of Paragraph 42 purport to
describe and characterize Rancho Viejo, LLC v. Norton, 323 F.3d 1062, 1064 (D.C.
Cir. 2003), which speaks for itself and is the best evidence of its contents. Montana

denies any allegations inconsistent with the cases plain language, meaning, or
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 12 of 39

context. The allegations in the remaining allegations of Paragraph 42 purport to
describe and characterize sections of the ESA, which speaks for themselves and are
the best evidence of their contents. Montana denies any allegations inconsistent

with their plain language, meaning, or context.

43. The allegations in Paragraph 43 purport to describe and characterize
16 U.S.C. § 1533(d), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.

44. The allegations in the first sentence of Paragraph 44 purport to
describe and characterize 16 U.S.C. § 1532(16), which speaks for itself and is the
best evidence of its contents. Montana denies any allegations inconsistent with its
plain language, meaning, or context. The allegations in the second sentence of
Paragraph 44 purport to describe and characterize definitions within 61 Fed. Reg.
4722, 4725 (Feb. 7, 1996), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.

45. The allegations in the first sentence of Paragraph 45 purport to
describe and characterize 16 U.S.C. § 1532(6), (20), which speaks for itself and is

the best evidence of its contents. Montana denies any allegations inconsistent with
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Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 13 of 39

the plain language, meaning, or context. The allegations in the second sentence of
Paragraph 45 purport to describe and characterize 79 Fed. Reg. 37578, 37579 (July
1, 2014) (“SPR policy”), which speaks for itself is the best evidence of its contents.
Montana denies any allegations inconsistent with its plain language, meaning, or
context. The allegations in the third sentence of Paragraph 45 purport to describe
and characterize 79 Fed. Reg. 37578, 37583, which speaks for itself and is the best
evidence of its contents. Montana denies any allegations inconsistent with its plain

language, meaning, or context.

46. The allegations in Paragraph 46 purport to describe and characterize
Loper Bright Enterprises v. Raimondo, No. 22-451 (2024) and Relentless, Inc. v.
Department of Commerce No. 22-1219 (2024), which speaks for themselves and is
the best evidence of its contents. Montana denies any allegations inconsistent with

its plain language, meaning, or context.

47. The allegations in Paragraph 47 purport to describe and characterize
Ctr. For Biological Diversity v. Zinke, 900 F.3d 1053, 1067 (9th Cir. 2018), which
speaks for itself and is the best evidence of its contents. Montana denies any

allegations inconsistent with its plain language, meaning, or context.

48. The allegations in Paragraph 48 purport to describe and characterize

Humane Soc’y, 865 F.3d at 605, which speaks for itself and is the best evidence of
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 14 of 39

its contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.

49. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 49, and denies them on that basis.

50. The allegations in Paragraph 50 purport to describe and characterize
16 U.S.C. § 1533(b)(1)(A), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.

51. The allegations in Paragraph 51 purport to describe and characterize
50 C.F.R. § 424.11(c) and 16 U.S.C. § 1533(a)(1), which speak for themselves and
are the best evidence of its contents. Montana denies any allegations inconsistent

with their plain language, meaning, or context.

52. The allegations in the first sentence of Paragraph 52 purport to
describe and characterize § 706 of the APA, which speaks for itself and is the best
evidence of its contents. Montana denies any allegations inconsistent with its plain
language, meaning, or context. The allegations in the second sentence of Paragraph
52 purport to describe and characterize 5 U.S.C. § 706(2)(A), which speaks for
itself and is the best evidence of its contents. Montana denies any allegations

inconsistent with its plain language, meaning, or context. The allegations in the
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Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 15 of 39

third sentence of Paragraph 52 purport to describe and characterize Bureau of
Alcohol, Tobacco and Firearms v. Fair Lab. Rel. Auth., 464 U.S. 89, 97 (1983)
(citations omitted), which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with its plain language, meaning, or

context.

FACTUAL BACKGROUND
The Gray Wolf and the ESA
53. Montana admits the allegations in the first sentence of Paragraph 53.
Montana lacks knowledge and information sufficient to form a belief as to the truth
of the allegations in the second and third sentences of Paragraph 53, and denies

them on that basis.
34. Montana admits the allegations in Paragraph 54.

55. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations of Paragraph 55, and denies them on that basis.

56. Montana admits the first, third, fourth and fifth sentences of Paragraph
56. The allegations in the second sentence of Paragraph 56 are too subjective,
vague, exaggerated, unqualified, and/or ambiguous to permit a specific response.

On that basis, Montana denies the allegations.

57. Montana admits the allegations in Paragraph 57.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 16 of 39

58. Montana admits the allegations in Paragraph 58.

59. The allegations in the first and second sentences of Paragraph 59
purport to describe and characterize 43 Fed. Reg. 9,607, 9,608, 9,612 (Mar. 9,
1978), which speaks for itself and is the best evidence of its contents. Montana
denies any allegations inconsistent with its plain language, meaning, or context.
The third sentence of Paragraph 59 purports to describe and characterize 65 Fed.
Reg. 43450, 43457 (July 13, 2000), which speaks for itself and is the best evidence
of its contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.

60. The allegations in Paragraph 60 purport to describe and characterize
65 Fed. Reg. 43450, which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with its plain language, meaning, or

context.

61. The allegations in the first sentence of Paragraph 61 purport to
describe and characterize 68 Fed. Reg. 15804, 15804 (Apr. 1, 2023), which speaks
for itself and is the best evidence of its contents. Montana denies any allegations
inconsistent with its plain language, meaning, or context. The allegations in the
second sentence of Paragraph 61 purport to describe and characterize Defs. Of

Wildlife v. U.S. Dep’t of the Interior, 354 F. Supp. 2d 1156, 1170-72 (D. Or. 2005)
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 17 of 39

and Nat'l Fed’n v. Norton, 386 F. Supp. 2d 553, 564-65 (D. Vt. 2005), which
speak for themselves and are the best evidence of their contents. Montana denies

any allegations inconsistent with their plain language, meaning, or context.

62. The allegations in the first sentence of Paragraph 62 purport to
describe and characterize 74 Fed. Reg. 15123 (Apr. 2, 2009), which speaks for
itself and is the best evidence of its contents. Montana denies any allegations
inconsistent with its plain language, meaning, or context. The allegations in the
second sentence of Paragraph 62 purport to describe and characterize the Defs. Of
Wildlife v. Salazar, 729 F. Supp 2d 1207, 1288 (D. Mont. 2010) and Department of
Defense and Full-Year Appropriations Act, 2011, Pub. L. No. 112-10, § 1713, 125
Stat. 150 (2011), which speaks for themselves and are the best evidence of their
contents. Montana denies any allegations inconsistent with their plain language,
meaning, or context. The allegations in the third sentence of Paragraph 62 are too
subjective, vague, exaggerated, unqualified, and/or ambiguous to permit a specific

response. On that basis, Montana denies the allegations.

63. The allegations in Paragraph 63 purport to describe and characterize
82 Fed. Reg. 20,284 (May 1, 2017), which speaks for itself and is the best evidence
of its contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 18 of 39

64. Montana admits the allegations in Paragraph 64.

65. The allegations in Paragraph 65 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.

66. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 66, and denies them on that basis.

67. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 67, and denies them on that basis.

68. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 68, and denies them on that basis.

69. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 69, and denies them on that basis.
The 2021 Petition
70. Montana admits the allegations in Paragraph 70.

71. The allegations in Paragraph 71 purport to describe and characterize
the 90-day finding and the 2024 Finding, prepared by the U.S. Fish and Wildlife

Service (“FWS”), which speaks for themselves and are the best evidence of their
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 19 of 39

contents. Montana denies any allegations inconsistent with their plain language,

meaning, or context.

72. The allegations in the Paragraph 72 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.

Gray Wolf Populations and Management in the Western States

Montana
73. Montana denies the allegations in Paragraph 73.

74. The allegations in Paragraph 74 purport to describe and characterize §
87-1-901, MCA, which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with its plain language, meaning, or

context.
75. Montana denies the allegations in Paragraph 75.
76. Montana denies the allegations in Paragraph 76.
77. Montana admits the allegations in Paragraph 77.

78. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 78, and denies them on that basis.

79. Montana denies the allegations in Paragraph 79.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 20 of 39

80. Montana denies the allegations in Paragraph 80.
81. Montana admits the allegations in Paragraph 81.
82. Montana denies the allegations in Paragraph 82.

83. Montana admits the allegations in Paragraph 83; however, the
management plan has yet to be finalized and speaks for itself and is the best

evidence of its contents.

84. The allegations in the first, second, and third sentences of Paragraph
84 purport to describe and characterize vonHoldt et al. (2010), which speaks for
itself and is the best evidence of its contents. Montana denies any allegations
inconsistent with its plain language, meaning, or context. Montana denies the

allegations in the fourth sentence of Paragraph 84.

85. The allegations in Paragraph 85 purport to describe and characterize
Bassing et al. (2020), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with its plain language,

meaning, or context.

86. Montana admits the allegations in Paragraph 86; however, the
management plan has yet to be finalized and speaks for itself and is the best

evidence of its contents.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 21 of 39

87. Montana denies the allegations in Paragraph 87.
88. Montana admits the allegations in Paragraph 88.
Idaho

89. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 89, and denies them on that basis.

90. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 90, and denies them on that basis.

91. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 91, and denies them on that basis.

92. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 92, and denies them on that basis.

93. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 93, and denies them on that basis.

94. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 94, and denies them on that basis.

95. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 95, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 22 of 39

96. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 96, and denies them on that basis.

97. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 97, and denies them on that basis.

98. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 98, and denies them on that basis.

99. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 99, and denies them on that basis.

100. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 100, and denies them on that basis.

101. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 101, and denies them on that basis.

102. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 102, and denies them on that basis.

103. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 78, and denies them on that basis.

Wyoming
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 23 of 39

104. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 104, and denies them on that basis.

105. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 105, and denies them on that basis.

106. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 106, and denies them on that basis.

107. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 107, and denies them on that basis.

108. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 108, and denies them on that basis.

109. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 109, and denies them on that basis.

Oregon
110. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 110, and denies them on that basis.

111. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 111, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 24 of 39

112. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 112, and denies them on that basis.

113. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 113, and denies them on that basis.

114. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 114, and denies them on that basis.

115. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 115, and denies them on that basis.

116. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 116, and denies them on that basis.

117. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 117, and denies them on that basis.

118. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 118, and denies them on that basis.

119. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 119, and denies them on that basis.

120. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 120, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 25 of 39

121. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 121, and denies them on that basis.

122. Washington

123. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 123, and denies them on that basis.

124. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 124, and denies them on that basis.

125. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 125, and denies them on that basis.

126. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 126, and denies them on that basis.

127. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 127, and denies them on that basis.

128. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 128, and denies them on that basis.

129. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 129, and denies them on that basis.

Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 26 of 39

130. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 130, and denies them on that basis.
Utah

131. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 131, and denies them on that basis.

132. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 132, and denies them on that basis.
Nevada

133. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 133, and denies them on that basis.

134. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 134, and denies them on that basis.

135. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 135, and denies them on that basis.

California

136. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 136, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 27 of 39

137. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 137, and denies them on that basis.
Colorado

138. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 138, and denies them on that basis.

139. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 139, and denies them on that basis.

New Mexico and Arizona

141. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 141, and denies them on that basis.

142. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 142, and denies them on that basis.
143. Montana admits the allegations in Paragraph 143.

144. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 144, and denies them on that basis.

145. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 145, and denies them on that basis.

The Service’s “Not Warranted” Finding
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 28 of 39

The ESA Five-Factor Threat Analysis

146. The allegations in Paragraph 146 purport to describe and characterize
50 C.F.R. § 424.11(C) and 16 U.S.C. § 1533(a)(1), which speak for themselves and
is the best evidence of their contents. Montana denies any allegations inconsistent

with their plain language, meaning, or context.

147. The allegations in Paragraph 147 purport to describe and characterize
74 Fed. Reg. 15,123, 15,148 (Apr. 2, 2009), which speaks for itself and is the best
evidence of its contents. Montana denies any allegations inconsistent with its plain

language, meaning, or context.

148. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 148, and denies them on that basis.

149. The allegations in the Paragraph 149 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.

150. Montana lacks knowledge and information to form a belief as to the
truth of the allegations in the first sentence of Paragraph 150, and denies them on
that basis. Montana denies the allegations in the second and third sentences of

Paragraph 150.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 29 of 39

151. The allegations in the Paragraph 151 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.
152. Montana denies the allegations in Paragraph 152.

153. Montana lacks knowledge and information to sufficient form a belief

as to the truth of the allegations in Paragraph 153, and denies them on that basis.
154. Montana denies the allegations in Paragraph 154.
155. Montana denies the allegations in Paragraph 155.

156. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 156, and denies them on that basis.

Best Available Science

157. Montana admits the first sentence of Paragraph 157. The allegations
in the second sentence of Paragraph 157 are too subjective, vague, exaggerated,
unqualified, and/or ambiguous to permit a specific response. On that basis,

Montana denies the allegations.

158. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 158, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 30 of 39

159. Montana lacks knowledge and information sufficient to form a belief
as to the truth of the allegations in Paragraph 159, and denies them on that basis.

Montana does not use a STE population model.

160. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 160, and denies them on that basis.

161. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 161, and denies them on that basis.

162. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 162, and denies them on that basis.

163. Montana admits the allegations in the first sentence of Paragraph 163,
however would like to note that Montana switched from its Patch Occupancy
Model to iPOM in 2020, not 2021. Montana denies the allegations in the second

sentence of Paragraph 163.
164. Montana denies the allegations in Paragraph 164.
165. Montana denies the allegations in Paragraph 165.
166. Montana denies the allegations in Paragraph 166.

167. Montana denies the allegations in Paragraph 167.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 31 of 39

168. Montana admits that Crabtree (2023), is a more recent study, but

denies the remaining allegations in Paragraph 168.
169. Montana denies the allegations in Paragraph 169.
170. Montana denies the allegations in Paragraph 170.
171. Montana denies the allegations in Paragraph 171.
172. Montana denies the allegations in Paragraph 172.

173. Montana denies the allegations in the first, second, third, fifth and
sixth sentences of Paragraph 173. Montana lacks knowledge and information to
form a belief as to the truth of the allegations in the fourth sentence of Paragraph

173, and denies them on that basis.
174. Montana denies the allegations in Paragraph 174.

175. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 175, and denies them on that basis.

176. Montana lacks knowledge and information sufficient to form a belief
regarding when Crabtree’s study was available, but admits that Crabtree’s study

was not published or peer-reviewed.

177. Montana lacks knowledge and information sufficient to form a belief as

to the truth of the allegations in Paragraph 177, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 32 of 39

178. The allegations in Paragraph 178 purport to describe and characterize
the SSA prepared by FWS, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,

meaning, or context.
179. Montana denies the allegations in Paragraph 179.

180. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 180, and denies them on that basis.

181. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 181, and denies them on that basis.

182. The allegations in the Paragraph 182 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.

183. The allegations in Paragraph 183 purport to describe and characterize
the SSA prepared by FWS, which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,

meaning, or context.

184. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 184, and denies them on that basis.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 33 of 39

185. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 185, and denies them on that basis.

186. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 186, and denies them on that basis.

187. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 187, and denies them on that basis.

188. The allegations in the Paragraph 188 are too subjective, vague,
exaggerated, unqualified, and/or ambiguous to permit a specific response. On that

basis, Montana denies the allegations.
189. Montana admits the allegations in Paragraph 189.
190. Montana denies the allegations in Paragraph 190.
191. Montana denies the allegations in Paragraph 191.
192. Montana denies the allegations in Paragraph 192.
193. Montana denies the allegations in Paragraph 193.
194. Montana denies the allegations in Paragraph 194.
195. Montana denies the allegations in Paragraph 195.

196. Montana denies the allegations in Paragraph 196.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 34 of 39

197. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 197, and denies them on that basis.

198. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 198, and denies them on that basis.
199. Montana denies the allegations in Paragraph 199.
200. Montana denies the allegations in Paragraph 200.

201. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 201, and denies them on that basis.
202. Montana denies the allegations in Paragraph 202.
203. Montana denies the allegations in Paragraph 203.

204. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 204, and denies them on that basis.
205. Montana denies the allegations in Paragraph 205.

206. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 206, and denies them on that basis.
207. Montana denies the allegations in Paragraph 207.

208. Montana denies the allegations in Paragraph 208.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 35 of 39

209. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 209, and denies them on that basis.

210. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 210, and denies them on that basis.

211. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 211, and denies them on that basis.

212. Montana lacks knowledge and information sufficient to form a belief

as to the truth of the allegations in Paragraph 212, and denies them on that basis.
213. Montana denies the allegations in Paragraph 213.

Significant Portion of Range

214. Montana admits the allegations in Paragraph 214.

215. The allegations in Paragraph 215 purport to describe and characterize
the SPR policy, which speaks for itself and is the best evidence of its contents.
Montana denies any allegations inconsistent with the plain language, meaning, or

context.

216. The allegations in Paragraph 216 purport to describe and characterize

the services Finding, which speaks for itself and is the best evidence of its
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 36 of 39

contents. Montana denies any allegations inconsistent with the plain language,

meaning, or context.

217. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 217, and denies them on that basis.

218. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 218, and denies them on that basis.

219. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 219, and denies them on that basis.

220. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 220, and denies them on that basis.

221. Montana lacks knowledge and information to form a belief as to the

truth of the allegations in Paragraph 221, and denies them on that basis.

CLAIMS FOR RELIEF
FIRST CLAIM - Failing to Properly Assess ESA Five Factors

222. Montana incorporates all proceeding paragraphs in response to

Paragraph 222.

223. The allegations in Paragraph 223 purport to describe and characterize

the 50 C.F.R. § 424.11(c) and 16 U.S.C. § 1533(a)(1), which speak for themselves
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 37 of 39

and are the best evidence of its contents. Montana denies any allegations

inconsistent with the plain language, meaning, or context.
224. Montana denies the allegations in Paragraph 224, A-G.
225. Montana denies the allegations in Paragraph 225.
226. Montana denies the allegations in Paragraph 226.
SECOND CLAIM - Failing to Use Best Available Science

227. Montana incorporates all proceeding paragraphs in response to

Paragraph 227.

228. The allegations in Paragraph 228 purport to describe and characterize
the 16 U.S.C. § 1533(b)(1)(A), which speaks for itself and is the best evidence of
its contents. Montana denies any allegations inconsistent with the plain language,

meaning, or context.
229. Montana denies the allegations in Paragraph 229, A-D.
230. Montana denies the allegations in Paragraph 230.
THIRD CLAIM - Failing to Properly Evaluate SPR

231. Montana incorporates all proceeding paragraphs in response to

Paragraph 231.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 38 of 39

232. The allegations in Paragraph 232 purport to describe and characterize
the 16 U.S.C. § 1532(6), (20), which speaks for itself and is the best evidence of its
contents. Montana denies any allegations inconsistent with the plain language,

meaning, or context.
233. Montana denies the allegations in Paragraph 233, A-D.
234. Montana denies te allegations in Paragraph 234.
235. Montana denies the allegations in Paragraph 235.

GENERAL DENIAL
Montana denies any allegations of the Plaintiffs’ Complaint, whether
express or implied, that are not specifically admitted, denied, or qualified herein.
AFFIRMATIVE DEFENSES

Defendant-Intervenor Montana asserts the following defenses:

1. Plaintiffs have failed to state a claim or claims upon which relief can
be granted.
2. This Court lacks subject matter jurisdiction over some or all of the

claims asserted.
3. Plaintiffs have failed to join a necessary party under Fed. R. Civ. P.

19.
Case 9:24-cv-00097-DWM Document 27-4 Filed 09/26/24 Page 39 of 39

4. No act or omission of any Defendant caused a violation of the
Plaintiffs’ federal rights, privileges, or immunities.

The above-listed defenses are asserted in good faith without the benefit of
discovery and for the purposes of avoiding waiver. If Defendant-Intervenor later
becomes aware that the evidence does not support any of the above-listed defenses,
Defendant-Intervenor will withdraw these defenses.

PRAYER FOR RELIEF

Defendant-Intervenor Montana respectfully requests that this Court dismiss
Plaintiffs’ Complaint in its entirety and order such further relief as it deems
appropriate.

DATED this 24th day of September, 2024.
/s/ Alexander R. Scolavino II

Alexander R. Scolavino II
Agency Legal Counsel

Jeffrey M. Hindoien
Chief Legal Counsel
